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                                AFFIDAVIT
     I, Minerva Bolivar, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against JUAN FIGUEROA (“FIGUEROA”),

charging him with violating Title 8, United States Code,

Sections 1326(a) and (b)(2), Illegal Alien Found in the United

States Following Deportation.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant, and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

      II. BACKGROUND OF DEPORTATION OFFICER MINERVA BOLIVAR
     3.      I am a Deportation Officer (“DO”) with the United

States Department of Homeland Security (“DHS”), Immigration and

Customs Enforcement (“ICE”).      I have been a DO with ICE,

formerly known as the Immigration and Naturalization Service

(“INS”), since June 2009.      I am currently assigned to the Los

Angeles Enforcement and Removal Operations (“ERO”) field office.
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                  III. STATEMENT OF PROBABLE CAUSE
     4.    On or about March 28, 2021, the Pacific Enforcement

Response Center (“PERC”) received an electronic notification

based on biometric fingerprint that FIGUEROA, a previously

deported criminal alien, was arrested by the Los Angeles Police

Department (“LAPD”) in Los Angeles, California.         On or about

that same day, ICE lodged a DHS Immigration Detainer with LAPD.

     5.    Based on my training and experience, I know that a DHS

“A-File” is a file in which immigration records are maintained

for aliens admitted to or found in the United States.          I also

know that a DHS A-File usually contains photographs,

fingerprints, court records of conviction, and records relating

to deportation or other actions by the legacy Immigration and

Naturalization Service (“INS”) or DHS with respect to the

subject alien for whom the DHS A-File is maintained.

     6.    On or about April 23, 2021, I obtained and reviewed

the DHS A-File A205-714-241, which is maintained for the subject

alien “JUAN FIGUEROA.”     The A-File contained the following

documents and information:

           a.    Photographs of the subject alien to whom DHS A-

File A205-714-241 corresponds.      I compared the photographs in

the A-File to photographs taken at the time of FIGUEROA’s

booking into LAPD custody on or about March 28, 2021.          I thus

determined that DHS A-File A205-714-241 and its contents

correspond to FIGUEROA.

           b.    One executed Warrant of Removal/Deportation

indicating that FIGUEROA was officially removed from the United


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States on or about August 6, 2019.       I know from my training and

experience that a Warrant of Removal/Deportation is executed

each time a subject alien is removed and excluded from the

United States by ICE (and its predecessor agency, INS) and

usually contains the subject’s photograph, signature, and

fingerprint.    The executed Warrant of Removal in FIGUEROA’s DHS

A-File contains a photograph, signature, and fingerprint.

           c.    A certified conviction record showing that

FIGUEROA was convicted, on or about June 10, 2013, of Assault

with a Semiautomatic Firearm, in violation of California Penal

Code Section 245(b), with an enhancement for Possession of a

Firearm in the Commission of a Felony, under California Penal

Code Section 12022(a)(1), and Commission of a Serious Felony in

Furtherance of a Street Gang, under California Penal Code

Section 186.22(b)(1)(B), in the Superior Court of the State of

California, County of Los Angeles, Case Number PA073738-02, for

which FIGUEROA was sentenced to a total of 15 years’

imprisonment.

           d.    Various documents, in addition to the Notice of

Intent to Issue a Final Administrative Removal Order, indicating

that FIGUEROA is a native and citizen of Mexico.         These

documents include: (i) a Final Administrative Removal Order

dated August 6, 2019 ordering FIGUEROA removed to Mexico; and

(ii) a Record of Deportable/Inadmissible Alien (Form I-213)

which states FIGUEROA is a citizen and national of Mexico.

           e.    On or about March 31, 2021, I reviewed the

printouts of the Interstate Identification Index (“III”).           Based


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on my training and experience, I know that the III database

tracks and records arrests and convictions of individuals

according to an individual’s FBI number.        The III printouts

confirmed that FIGUEROA had been convicted of the crime

reflected on the document contained in FIGUEROA’s DHS A-File.

     7.    On or about April 5, 2021, I reviewed the printouts of

ICE computer indices on FIGUEROA.       Based on my training and

experience, I know that the ICE computer indices track and

document each time an alien is deported or excluded from the

United States by ICE, was deported or excluded by the former

INS, or is granted permission to enter or re-enter the United

States.   The ICE computer indices confirmed that FIGUEROA had

been removed, deported, and/or excluded on or about the date

indicated on the Warrant of Removal/Deportation found in

FIGUEROA’s DHS A-File.     The ICE computer indices further

indicated that FIGUEROA had not applied for, or obtained from

the Attorney General or the Secretary of Homeland Security,

permission to re-enter the United States.

     8.    Based on my review of FIGUEROA’s DHS A-File, I

determined that it does not contain any record of him ever

applying for, or receiving from the Attorney General or the

Secretary of Homeland Security, permission to re-enter the

United States.    Based on my training and experience, I know that

such documentation is required to re-enter the United States

legally after deportation, and that if such documentation

existed, it would ordinarily be found in FIGUEROA’s DHS A-File.




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                             IV. CONCLUSION
     9.    For the reasons described above, there is probable

cause to believe that JUAN FIGUEROA has committed a violation of

Title 8, United States Code, Sections 1326(a) and (b)(2),

Illegal Alien Found in the United States Following Deportation.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   WK day of
telephone on this _____
0D\
_____, 2021.



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UNITED STATES MAGISTRATE JUDGE




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